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Attorneys for Plaintiff and the Class

RAY PEREA, individually, and on behalf
of all others similarly situated,

Plaintiff,
vs.

HUMANA PHARMACY, INC. doing
business as RIGHTSOURCERX, a
Delaware corporation; and DOES 1-10,
Inclusive,

Defendants.

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UNITED STATES DISTRICT COURT
CENTAL DISTICT OF CALIFORNIA

Case No.: SACV12-01881 JST(ANx)

FIRST AMENDED CLASS ACTION
COMPLAINT

JURY TRIAL DEMANDED

 

 

 

 

except to his own acts, which he alleges upon personal knowledge.
I. PARTIES

1. Plaintiff Ray Perea is a resident of San Bernardino County, California.

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FIRST AMENDED CLASS ACTION COMPLAINT

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2. Defendant Humana Pharmacy, Inc. d/b/a RightSourceRx is a Delaware
corporation that does business in California.

3. The true names and capacities of the Defendants sued herein as DOES 1
through 10, inclusive, are currently unknown to Plaintiff, who therefore sues such
Defendants by fictitious names. Each of the Defendants designated herein as a DOE is
legally responsible for the unlawful acts alleged herein. Plaintiff will seek leave of
Court to amend this Complaint to reflect the true names and capacities of the DOE
Defendants when such identities become known. |

4. At all relevant times, each and every Defendant was acting as an agent
and/or employee of each of the other Defendants and was acting within the course
and/or scope of said agency and/or employment with the full knowledge and consent of
each of the Defendants. Each of the acts and/or omissions complained of herein were
alleged and made known to, and ratified by, each of the other Defendants (Humana
Pharmacy, Inc. d/b/a RightSourceRx and Doe Defendants will hereafter collectively be
referred to as “Defendant”).

II. JURISDICTION AND VENUE

4. This Court has jurisdiction over all causes of action asserted herein.

5. Venue is proper in this Judicial District because a substantial part of the
wrongful conduct about which Plaintiff complains occurred in this Judicial District.

WW. FACTS

6. In August 2012 while located in California, Plaintiff called Defendant at
800-486-2668 from a wireless telephone. Plaintiff spoke to an employee of Defendant
and proceeded to have a sensitive, private and confidential discussion wherein Plaintiff
provided his name and social security number, and also discussed a very private and
highly sensitive medical condition related to erectile dysfunction.

7. Plaintiff was not aware that the call was being recorded. Defendant did
not, at any point during the telephone conversation with Defendant’s customer service

representative, advise Plaintiff that the call was being recorded. Plaintiff did not give

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FIRST AMENDED CLASS ACTION COMPLAINT

 
 

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either express or implied consent to the recording.

8. After completing his call, Plaintiff learned that Defendant records all
incoming telephone calls. Defendant did not disclose this fact to Plaintiff, nor do they
disclose it to all other members of the class.

9. Plaintiff expected that his telephone call would be private (i.e., not
recorded) due to: (1) the sensitive and confidential nature of the conversation; and (2)
Defendant’s assurances that it respects the privacy of its customers. Indeed,
Defendant’s website assures visitors that “The privacy of your personal and health

information is important.”'

10. Plaintiff's subjective expectation of privacy was objectively reasonable
based upon prevailing societal norms. Indeed, one recent poll showed that 73% of
Americans believe that it is “extremely important” that conversations never be recorded
or monitored without the consent of all parties. See Harris Poll #17, March 19, 2003;
see also Katz, Privacy and Information Technology, Public Opinion Quarterly 54, no. 1
(1990), at 125-143 (concluding that privacy of telephone calls is very important to most
Americans and that the idea of secretly recording or monitoring of telephone calls is
upsetting to a majority of people).

11. Accordingly, Plaintiff brings this lawsuit to enjoin the ongoing violations
of privacy of hundreds of people and to recover damages because of this unlawful
practice.

IV. CLASS ACTION ALLEGATIONS

12. Plaintiff brings this class action for damages and other monetary relief on
behalf of the following class: .

“All persons located in California whose telephone
conversations with Defendant were recorded by
Defendant without disclosure at any time during the

applicable statute of limitations period.” (the “Class’’).

 

1 See https://www.rightsourcerx.com/custserv/info.cmd?pageName=Privacy (last visited October 31, 2012).

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13. Excluded from the Class are governmental entities, Defendant, any entity
in which Defendant has a controlling interest, and Defendant’s officers, directors,

affiliates, legal representatives, employees, co-conspirators, successors, subsidiaries,

| and assigns, and individuals bound by any prior settlement. Also excluded from the

Class is any judge, justice, or judicial officer presiding over this matter and the
members of their immediate families and judicial staff.

14. This action is brought and may be properly maintained as a class action
pursuant to the provisions of Federal Rule of Civil Procedure 23(a)(1)-(4) and 23(b)(1)-
(3). This action satisfies the numerosity, typicality, adequacy, predominance and

superiority requirements of those provisions.

15. [Fed. R. Civ. P. 23(a)(1)]: The Class is so numerous that the individual
joinder of all of its members is impractical. The exact identities of class members can
be ascertained through appropriate discovery of defendant’s books and telephone
records. Plaintiff believes that the class exceeds 500 members.

16.  [Fed. R. Civ. P. 23(a)(2)]: Common questions of fact and law exist as to all
members of the Class which predominate over any questions affecting only individual
members of the Class. These common legal and factual questions, which do not vary
from class member to class member, and which may be determined without reference to
the individual circumstances of any class member, include, but are not limited to, the
following:

(a) Whether Defendant intentionally records telephone calls;

(b) Whether Defendant discloses its intentional recording of telephone
communications; and

(c) Whether Defendant’s conduct constitutes a violation of California
Penal Code sections 631(a), 632(a), 632.7 and/ or 637;

17. [Fed. R. Civ. P. 23(a)(3)]: Plaintiffs claims are typical of the claims of the
‘members of the Class. Plaintiff and all members of the Class have been subjected to

Defendant’s common course of unlawful conduct as complained of herein and are

 

 

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entitled to the same statutory damages based on Defendant’s wrongful conduct as
alleged herein.

18. [Fed. R. Civ. P. 23(a)(4)]: Plaintiff will fairly and adequately protect the
interests of the members of the Class. Plaintiff has retained attorneys experienced in the
prosecution of class actions who have previously been certified as class counsel in a
variety of class action lawsuits in both state and federal court.

19. [Fed. R. Civ. P. 23(b)(3)]: A class action is superior to other available
methods of fair and efficient adjudication of this controversy, since individual litigation
of the claims of all Class members is impracticable. Even if every Class member could
afford individual litigation, the court system could not. It would be unduly burdensome
to the courts in which individual litigation of numerous issues would proceed.

20. [Fed. R. Civ. P. 23(b)(1)(A)]: The prosecution of separate actions by
hundreds of thousands of individual Class members would create the risk of
inconsistent or varying adjudications with respect to, among other things, the need for
and the nature of proper notice, which Defendant must provide to all Class members.

21. [Fed. R. Civ. P. 23(b)(1)(B)]: The prosecution of separate actions by
individual class members would create a risk of adjudications with respect to them that
would, as a practical matter, be dispositive of the interests of the other Class members
not parties to such adjudications or that would substantially impair or impede the ability
of such non-party Class members to protect their interests.

22. [Fed. R. Civ. P. 23(b)(2)]: Defendant has acted or refused to act in respects
generally applicable to the Class, thereby making appropriate final injunctive relief with
regard to the members of the Class as a whole.

Vv. CAUSES OF ACTION
FIRST CAUSE OF ACTION

Penal Code § 630, et seq.
(By Class Against All Defendants)

23. Plaintiff incorporates by this reference the allegations contained in the

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FIRST AMENDED CLASS ACTION COMPLAINT

 
 

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preceding paragraphs above as if fully set forth herein.

24. As part of the California Invasion of Privacy Act, the Legislature enacted
section 632 of the California Penal Code in 1967 to address the growing concern that
“advances in science and technology have led to the development of new devices and
techniques for the purpose of eavesdropping upon private communications and that the
invasion of privacy resulting from the continual and increasing use of such devices and
techniques has created a serious threat to the free exercise of personal liberties and
cannot be tolerated in a free and civilized society.” Cal. Penal Code § 630.

25. Section 632 prohibits the non-consensual recording, monitoring, and/or
eavesdropping upon confidential telephone communications by means of any electronic
amplifying or recording device, including a wiretap. “Intentional” within the context of
section 632 merely requires that a defendant intend that the confidential communication
be recorded, monitored, and/or eavesdropped upon. See People v. Superior Court of
Los Angeles County, 70 Cal. 2d 123, 133 (1969). No other wrongful or surreptitious
intent is required, only that the defendant intended to record the confidential
communication is necessary.

26. Defendant knowingly violated Cal. Pen Code § 632 by habitually, and
making a practice of, routinely recording confidential telephone communications. Such
communications are considered to be confidential because such communications are ©
private, confidential, and carried on under circumstances that reasonably indicate that
the customer-party to the communication desires it to be confined to them and
Defendant.

27. Based on the foregoing violations, Plaintiff and members of the Class are
entitled to and seek the statutory remedies provided in section 637.2 of the California
Penal Code, i.e. $5,000 per statutory violation or three times the amount of actual
damages, whichever is higher.

28. Plaintiff and the Class further seek attorneys’ fees pursuant to section

1021.5 of the California Code of Civil Procedure, or any other applicable statute, as this

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FIRST AMENDED CLASS ACTION COMPLAINT

 
 

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action enforces an important right affecting the public’s interest.
SECOND CAUSE OF ACTION
Penal Code § 632.7
(By Class Against All Defendants)

29. Plaintiff incorporates by this reference the allegations contained in the
preceding paragraphs above as if fully set forth herein.

30. Section 632.7 prohibits the intentional, non-consensual recording of any
telephone communication without the consent of all parties where at least one party to
the conversation is either using a cordless or cellular telephone. No expectation of
confidentiality or privacy is required, nor is any other wrongful or surreptitious intent
required — only that the defendant intended to record the communication.

31. Defendant knowingly violated Cal. Pen Code § 632.7 by intentionally
recording calls with persons using cordless or cellular telephones, including Plaintiff.

32. Based on the foregoing violations, Plaintiff and the Class are entitled to
and seek the statutory remedies provided in section 637.2 of the California Penal Code.

33. Plaintiff and the Class further seek attorneys’ fees pursuant to section
1021.5 of the California Code of Civil Procedure, or any other applicable statute, as this
action enforces an important right affecting the public’s interest.

PRAYER FOR RELIEF

WHEREFORE, Plaintiff, individually and on behalf of the Class, prays for relief
and judgment as follows:

1. For preliminary and permanent injunctive relief enjoining Defendant, its
agents, servants and employees, and all persons acting in concert with them, from

engaging in this illegal practice;

2. For certification of the putative class;
4. An award of any and all available damages;
8. For attorneys’ fees and expenses pursuant to all applicable laws including,

without limitation, Code of Civil Procedure §1021.5 and the common law private

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FIRST AMENDED CLASS ACTION COMPLAINT

 
 

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| Dated: November 2, 2012

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| attorney general doctrine:

9. For ‘costs of suit; and.
10. For such otherand further'telief as the Court deems just and proper.
DEMAND FOR JURY TRIAL.

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Scott J. Ferrell cs

 

 

By: a
” Seon Feral
Attorney for Plaintiff and the Class.

FIRST AMENDED. CLASS-ACTION COMPLAINT.

 
 

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I hereby certify that on. November 2, 2012, 1 caused a true and correct

indicated:

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RIGHTSOURCE.

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~ CERTIFICATE OF SERVICE

 

 

 
